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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

INTERMOUNTAIN FAIR HOUSING          )
COUNCIL,                            )                  CASE NO. CV 10-00161-EJL
                                    )
      Plaintiff,                    )                  ORDER FOR DISMISSAL
                                    )
vs.                                 )
                                    )
CMCFG, L.L.C.,                      )
                                    )
      Defendant.                    )
____________________________________)

          Before the Court is a stipulation of the parties dated May 26, 2010 agreeing to dismiss

the above-entitled action with prejudice in its entirety based upon the complete settlement of the

claims at issue herein, with each party bearing its own attorney’s fees and costs incurred herein.

The Court has reviewed the parties’ stipulation and finds good cause exists to approve the

stipulation.

                                               ORDER

          THEREFORE IT IS HEREBY ORDERED that the parties’ Stipulation to Dismiss

(Document No. 9) is APPROVED. The above-entitled proceeding is DISMISSED WITH

PREJUDICE in its entirety, with each party bearing its own attorney’s fees and costs incurred

herein.

                                                       DATED: May 27, 2010




                                                       Honorable Edward J. Lodge
                                                       U. S. District Judge




ORDER FOR DISMISSAL                            1
